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 Counsel to Reorganized Debtors

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                             )
                                                             )
 In re:                                                      )      Chapter 11
                                                             )
 INTERNATIONAL SHIPHOLDING                                   )      Case No. 16-12220 (SMB)
 CORPORATION, et al., 1                                      )
                                                             )      Jointly Administered
                            Reorganized Debtors.             )

          NOTICE OF ADJOURNMENT OF HEARING ON SIXTH (SUBSTANTIVE)
             OMNIBUS OBJECTION TO CLAIMS (INCONSISTENT CLAIMS,
                 DUPLICATE CLAIMS AND MISCLASSIFIED CLAIMS)


          PLEASE TAKE NOTICE that the hearing on the Reorganized Debtors’ Sixth

 (Substantive) Omnibus Objection to Claims (Inconsistent Claims, Duplicate Claims, and

 Misclassified Claims) [Docket No. 943] (the “Motion”) solely with respect to proof of claim

 number 273 filed by OSG Shipmanagement Inc. originally scheduled for October 30, 2018 at


 1 The Reorganized Debtors in these cases, along with the last four digits of each Reorganized Debtor’s federal tax
 identification number, are: International Shipholding Corporation (9662); Central Gulf Lines, Inc. (8979); Coastal
 Carriers, Inc. (6278); Waterman Steamship Corporation (0640); N.W. Johnsen & Co., Inc. (8006); Tower LLC
 (6755); Frascati Shops, Inc. (7875); Gulf South Shipping PTE LTD (8628); and LCI Shipholdings, Inc. (8094). The
 service address for each of the above Reorganized Debtors is 2200 Eller Drive, P.O. Box 13038, Fort Lauderdale,
 FL 33316.
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 10:00 a.m. (prevailing Eastern Time) in the above-captioned chapter 11 cases has been

 rescheduled to November 29, 2018 at 10:00 a.m. (prevailing Eastern Time).

       PLEASE TAKE FURTHER NOTICE that the objection deadline on the Motion for OSG

 Shipmanagement Inc. has been extended to November 14, 2018 at 4:00 p.m. (prevailing

 Eastern Time).



 Dated: New York, New York             AKIN GUMP STRAUSS HAUER & FELD LLP
        October 11, 2018               By: /s/ Sarah Link Schultz
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